            Case 1:11-cr-00412-JLT-SKO Document 56 Filed 10/26/12 Page 1 of 3



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 YASIN MOHAMMAD
   Assistant United States Attorneys
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5 Attorneys for Plaintiff
   United States of America
 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 11-CR-412
12                                Plaintiff,               STIPULATION TO CONTINUE
                                                           STATUS CONFERENCE AND
13   v.                                                    EXCLUDE TIME PERIODS UNDER
                                                           SPEEDY TRIAL ACT; FINDINGS
14   VICTOR MANUEL TORRES AND                              AND ORDER
     FERNANDO QUINTERO,
15
                                  Defendants,
16

17

18                     STIPULATION TO CONTINUE STATUS CONFERENCE
                       AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT
19
            Plaintiff United States of America, by and through its counsel of record above, and
20

21 defendants, by and through their counsel of record, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on October 29, 2012.

23          2.      By this stipulation, defendants now move to continue the status conference until
24
     December 17, 2012 and to exclude time between October, 29 2012 and December 17, 2012 under
25
     Local Code T4 and 18 U.S.C. § 3161. Plaintiff stipulates to this request.
26
            3.      The parties agree and stipulate, and request that the Court find the following:
27
            a.      The government has represented that the discovery associated with this case includes
28
                                                       1
29

30
            Case 1:11-cr-00412-JLT-SKO Document 56 Filed 10/26/12 Page 2 of 3


     investigative reports, lab reports, audio and video files, and wiretap evidence including voluminous
 1
     translations. Much of this discovery has been either produced directly to counsel and/or made
 2

 3 available for inspection and copying. The government recently received a new wave of wiretap and

 4 related discovery that will be produced by the end of this week.

 5          b.      Counsel for defendant desires additional time consult with his/her client, to review
 6
     the current charges, to conduct investigation and research related to the charges, to review and copy
 7
     discovery for this matter, to discuss potential resolutions with his/her client, to prepare pretrial
 8
     motions, and to otherwise prepare for trial. Furthermore, Counselor Capozzi is set to be in trial on
 9

10 the date the status conference is presently set.

11          c.      The Parties believe that failure to grant the above-requested continuance would deny

12 the defendants the reasonable time necessary for effective preparation, taking into account the

13 exercise of due diligence, and for further plea negotiations.

14
            d.      The government stipulates to the continuance.
15
            e.      Based on the above-stated findings, the ends of justice served by continuing the case
16
     as requested outweigh the interest of the public and the defendant in a trial within the original date
17

18 prescribed by the Speedy Trial Act.

19          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

20 seq., within which trial must commence, the time period of October 29, 2012 to December 17, 2012,

21
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
22
     because it results from a continuance granted by the Court at defendant’s request on the basis of the
23
     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
24
     public and the defendant in a speedy trial.
25
26          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of

27 the Speedy Trial Act dictate that additional time periods are excludable from the period

28
                                                          2
29

30
                              Case 1:11-cr-00412-JLT-SKO Document 56 Filed 10/26/12 Page 3 of 3


     within which a trial must commence.
 1
     IT IS SO STIPULATED.
 2

 3

 4 DATED:                            October 25, 2012.

 5
                                                           /s/ Yasin Mohammad___________
 6                                                         YASIN MOHAMMAD
                                                           Assistant United States Attorney
 7

 8 DATED:                            October 25, 2012.

 9
                                                           /s/ Anthony Capozzi _________
10                                                         ANTHONY CAPOZZI
                                                           Counsel for Defendant Torres
11

12 DATED:                            October 25, 2012.

13
                                                           /s/ David Balakian _________
14                                                         DAVID BALAKIAN
                                                           Counsel for Defendant Quintero
15

16
                                                                    ORDER
17
                              The parties' request for a continuance of the status conference is DENIED.
18

19
     IT IS SO ORDERED.
20
                           Dated:   October 25, 2012                              /s/ Sheila K. Oberto
21                                                                     UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




22
     ie14hje
23

24

25
26

27

28
                                                                        3
29

30
